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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

PRINCE UNIVERSAL MICHAEL ALSO
KNOWN AS MARIO A. THOMPSON,

                                 Plaintiff,                      20-CV-8052 (CM)
                     -against-                                  CIVIL JUDGMENT
DONALD J. TRUMP, ET AL.,

                                 Defendants.

         Pursuant to the order issued October 15, 2020, dismissing the complaint,

         IT IS ORDERED, ADJUDGED AND DECREED that the complaint is dismissed as

frivolous under 28 U.S.C. § 1915(e)(2)(B)(i).

         The Court certifies under 28 U.S.C. § 1915(a)(3) that any appeal from the Court’s

judgment would not be taken in good faith.

         IT IS FURTHER ORDERED that the Clerk of Court mail a copy of this judgment to

Plaintiff and note service on the docket.

SO ORDERED.

Dated:     October 15, 2020
           New York, New York

                                                          COLLEEN McMAHON
                                                      Chief United States District Judge
